Case 5:21-cr-50014-TLB Document 120 Filed 12/09/21 Page 1 of 2 PagelD #: 1756

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA PLAINTIFF
V. CASE NO. 5:21-CR-50014-001
JOSHUA JAMES DUGGAR DEFENDANT

VERDICT FORM — COUNT ONE
On the crime of Receipt of Child Pornography, as charged in Count One of the

Indictment, we, the jury, find the Defendant, Joshua James Duggar:

Gui [HY
(GUILTY OR NOT GUILTY)

2/5 a

Date

 
Case 5:21-cr-50014-TLB Document120_ Filed 12/09/21 Page 2 of 2 PagelD #: 1757

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA PLAINTIFF
V. CASE NO. 5:21-CR-50014-001
JOSHUA JAMES DUGGAR DEFENDANT

VERDICT FORM —- COUNT TWO
On the crime of Possession of Child Pornography, as charged in Count Two of the

Indictment, we, the jury, find the Defendant, Joshua James Duggar:

Guilt

(GUILTY OR NOT GUILTY)

12 [5 fe

 

Date
